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 5                         UNITED STATES DISTRICT COURT
 6                        EASTERN DISTRICT OF CALIFORNIA
 7   MICHELLE RIVAS AND THOMAS KASCHAK,         1:08-CV-00942 OWW SMS
 8   et al.,
                                                MEMORANDUM DECISION
 9                            Plaintiffs,       GRANTING DEFENDANTS’
                                                UNOPPOSED MOTION TO DISMISS
10                       v.                     AND VACATING HEARING (DOC.
                                                28).
11   CALIFORNIA FRANCHISE TAX BOARD, et
     al.,
12                            Defendants.
13
14                                I.   INTRODUCTION

15         This case arises out of a search of Plaintiffs’ Michelle

16   Rivas’ (“Rivas”) and Thomas Kaschak’s (“Kaschak”) residence,

17   conducted by California Franchise tax Board (“FTB”) agents on

18   February 23, 2006, and Kaschak’s January 9, 2007 arrest on

19   charges of tax evasion.      Plaintiffs’ original complaint was

20   dismissed with leave to amend on December 23, 2008.           Kaschak

21   filed a First Amended Complaint (“FAC”) on May 15, 2009.            Doc.

22   26.   The First Cause of Action alleges the FTB and Defendant Slue

23   Railsback (“Railsback”), an FTB Senior Special Agent, violated

24   his Fourth Amendment right to be free from unreasonable search

25   during the February 23, 2006 search and his January 9, 2007

26   arrest.    FAC ¶¶ 22-31.    The Second Cause of Action alleges that

27   Defendant John Chiang (“Chiang”), the California State Controller

28   and Chairman of the FTB, violated his Fourth Amendment right to

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 1   be free from the excessive use of force during the February 23,
 2   2006 search.   FAC ¶¶ 32-40.
 3        Defendants move to dismiss the First Cause of Action as to
 4   the FTB on Eleventh Amendment grounds, and the Second Cause of
 5   Action against Chiang on statute of limitations grounds.          Doc. 28
 6   at 2-3.   Plaintiff filed a statement of non-opposition, reserving
 7   the right to pursue his claims against Slue Railsback.           Doc. 30.
 8
 9        Accordingly:
10        (1) As to Defendant FTB, the First Cause of Action is
11   DISMISSED WITH PREJUDICE.     As to Defendant Railsback, this claim
12   survives.
13        (2) The Second Cause of Action, which only names Chiang, is
14   DISMISSED WITH PREJUDICE in its entirety.
15        (3) The hearing on this motion to dismiss, currently set for
16   October 19, 2009 at 10:00 a.m. is VACATED.       Counsel need not
17   appear.
18
19   SO ORDERED
20   Dated: October 16, 2009
21                                      /s/ Oliver W. Wanger
                                           Oliver W. Wanger
22                                    United States District Court
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